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CERTIFICATION OF NAMED PLAINTIFF
PURSUANT TO FEDERAL SECURITIES LAWS

The undersigned declares, as to the claims asserted under the federal securities laws, that:

Plaintiff has reviewed the initial complaint filed in this action.

Plaintiff did not purchase and/or acquire the security that is the subject of this action at
the direction of Plaintiff's counsel or in order to participate in any private action under the federal
securities laws.

Plaintiff is willing to serve as a representative party on behalf of the class, including
providing testimony at deposition and trial, if necessary. I understand that this is not a claim
form, and that my ability to share in any recovery as a member of the class is not dependent upon
execution of this Plaintiff Certification.

Plaintiff's transactions in the security that is the subject of this action during the Class
Period are as follows:

 

 

 

Purchases:
Name of Company Date(s) Purchased # Shares Purchased Cost/ a
COOL 6-})-18 ee S15
b2IAG Sg ayaa
Sales:
Name of Company Date(s) Sold # Shares Sold Process Share
COOL 6A 1309 as ss
64 -| $50 0 es at

During the three (3) years prior to the date of this certification, Plaintiff has not sought to
serve or served as a class representative in an action filed under the federal securities laws except
for the following (if any):

 

 

 
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Plaintiff will not accept any payment for serving as a representative party on behalf of the
class beyond Plaintiff's pro rata share of any recovery, except such reasonable costs and expenses
(including lost wages) directly relating to the representation of the class as ordered or approved

by the court.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this | ¢ raday of a ¢ , 2018 in Droolk\, KO hy V

City_) ’ State

 

(Signature) X.

(Print Name) o Sow if \ A JM Low) l

 
